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 8
                                   UNITED STATES DISTRICT COURT
 9
                                         DISTRICT OF NEVADA
10
11   KIRK SKINNER,                      )                 CASE NO.
                                        )
12                                      )                 COMPLAINT FOR DAMAGES AND OTHER
                   Plaintiff,           )                 RELIEF BASED UPON:
13                                      )
           vs.                          )                 1. DISABILITY DISCRIMINATION AND
14                                      )                    FAILURE TO ACCOMMODATE IN
                                        )                    VIOLATION OF THE AMERICANS
15                                      )                    WITH DISABILITIES ACT
     NEWMONT MINING CORPORATION, a
                                        )
16   Delaware Corporation; NEWMONT GOLD )                 2. RETALIATION IN VIOLATION OF THE
     COMPANY, a Delaware Corporation;   )                    AMERICANS WITH DISABILITIES ACT
17   NEWMONT USA LIMITED, a Delaware    )
18   Corporation; NEWMONT VENTURES LTD, )
                                        )
                                        )                 JURY DEMAND
19                 Defendants.          )
                                        )
20                                      )
                                        )
21                                      )
                                        )
22
23          Plaintiff KIRK SKINNER ("Plaintiff" or "Skinner") alleges as follows:
24           1.      This action is brought pursuant to the Americans with Disabilities Act of 1990, 42
25   U.S.C. § 12101, et seq. (hereinafter “ADA”). Jurisdiction is predicated under this code section as
26   well as 28 U.S.C. § 1331 as this action involves a federal question.
27           2.      At all relevant times, Defendants NEWMONT MINING CORPORATION, a
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 1   Delaware Corporation; NEWMONT GOLD COMPANY, a Delaware Corporation; NEWMONT
 2   USA LIMITED, a Delaware Corporation; NEWMONT VENTURES LTD (hereinafter
 3   "Newmont” or "Defendant") employed twenty (20) or more employees for each working day
 4   during each of 20 or more calendar workweeks in the current or preceding calendar year, and they
 5   are therefore subject to the provisions of the ADA.
 6          3.      The events or omissions giving rise to Plaintiff's claim occurred in this judicial
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     district, thus venue is proper here pursuant to 28 USC §1391(b)(2), and the ends of justice so
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     require.
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                                                  PARTIES
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            4.      Plaintiff, Skinner, is a citizen of the United States and currently is a resident of the
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     State of Arizona, County of Mohave and City of Kingman.
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            5.      Plaintiff is informed and believes and thereon alleges that at all relevant times
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     giving rise to the claims asserted, Plaintiff was employed in Elko, Nevada by Newmont.
14
     Defendant is an employer within the meaning of 42 USC §12111(5)(A).
15
16                                   EXHAUSTION OF REMEDIES

17          6.      Plaintiff timely filed “Charges of Discrimination” with the Nevada Equal Right

18   Commission (“NERC”) and the Equal Employment Opportunity Commission (“EEOC”) and was

19   issued a Notices of Right to Sue by the EEOC on June 19, 2018, copies of which are attached to

20   Plaintiff’s Complaint as Exhibit “A”.
21                                       STATEMENT OF FACTS
22          7.     Plaintiff worked for Defendant as an Underground Mobile Mechanic from February
23   19, 2007 until he was discharged on or about October 31, 2017. He started as a level 4, was
24   promoted to a level 5 in September of 2007 and a level 6 in June of 2008. In this position Skinner
25   was responsible for maintaining and repairing underground mobile equipment.
26          8.      On October 26, 2016, Plaintiff emailed Employee Relations Representative Dennis
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     Zimmerman and told him that because of a disability to his back, among other things, he needed
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 1   accommodations regarding the lifting aspects of his job.
 2           9.     On October 27, 2016 Zimmerman took Skinner off work and told him he needed to
 3   have a fitness for duty exam performed by an occupational doctor before her could return back to
 4   work.
 5           10.    Plaintiff did see a physician and the physician released Skinner back to work with a
 6   50 pound lifting restriction but because Defendant claimed that being able to lift 100 pounds was
 7
     an essential function on the job, Plaintiff was put on a medical leave of absence until his doctor
 8
     released him back to work duty with no restriction.
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             11.    Skinner believes he could have returned to work with reasonable accommodations
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     at this point. He bases this on the fact that only about 1% to 5% of his job required him to lift over
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     50 pounds and he could have gotten help from other team members when needed. Plaintiff could
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     have also used machinery; including cranes, forklifts, pallet jacks and carts, to help him lift objects
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     over 50 pounds when needed.
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             12.    In addition Plaintiff believes there were alternative jobs that he could have
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     performed with or without accommodations, including but not limited to, Tool Room Attendant,
16
17   Lube Truck Operator, Wash Bay Attendant, Mobiltronic Technician and Parts Expediter. Skinner

18   knows of other employees who were accommodated with alternative jobs when they became

19   disabled.

20           13.    Because Newmont continued to refuse to accommodate Plaintiff’s disability,
21   Skinner filed a complaint with the NERC on January 11, 2017.
22           14.    Defendant still refused to accommodate Plaintiff’s disability and on or about
23   October 31, 2017 Skinner’s employment with Defendant was terminated because he was not
24   released back to work without restrictions within 52 weeks of when he started his leave of
25   absence, in violation of Newmont’s medical leave policy.
26   ///
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     ///
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 1                                        FIRST CAUSE OF ACTION
 2                               (For Disability Discrimination and Failure to
 3                                  Accommodate in Violation of the ADA)
 4           15.     Plaintiff Skinner incorporates the allegations set forth in paragraphs 1 through 14,
 5   inclusive, as if fully set forth herein.
 6           16.     Plaintiff was diagnosed with physical impairments including degenerative disc
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     disease, disc herniation, back pain, numbness in right foot and leg, left arm pain and left finger
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     numbness, among other things.
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             17.     These physical impairments substantially limited Skinner in major life activities
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     including caring for himself, performing manual tasks, sleeping, standing, walking, bending,
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     lifting and crawling, among other major life activities. This made Skinner disabled under the
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     ADA.
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             18.     Once Newmont determined Plaintiff was disabled under the ADA, they had a
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     mandatory duty under the law to interact with Skinner to find him a reasonable accommodation.
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             19.     Since it was determined by Plaintiff’s doctor that he was not released to come back
16
17   to work without restrictions as of October 30, 2017, Defendant had a duty under the law to extend

18   Skinner’s medical leave of absence until he was able to return to his job without restrictions unless

19   it would have resulted in an indefinite leave of absence or it would have caused an undue hardship

20   to Defendant. (It should be noted that Plaintiff was never given a chance to go on Family Medical
21   Leave.)
22           20.     In addition, Newmont had a mandatory duty to interact with Plaintiff to try to find
23   Skinner an alternative job he could do with his work restrictions.
24           21.     As set forth above, Plaintiff could have been given accommodations to perform his
25   regular job by having team members help his to lift objects over 50 pounds or by using machinery
26   including cranes, forklifts, pallet jacks and carts to help lift objects over 50 pounds when needed.
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             22.     Further Skinner could have been given an alternative job that he could have
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 1   performed with or without accommodations, like other employees who became disabled were
 2   given in the past.
 3           23.       Thus because Newmont chose not to follow existing law and accommodate
 4   Skinner’s disabilities, and instead chose to terminate Plaintiff’s employment on or about October
 5   31, 2017, they are liable to Plaintiff for damages and other relief under the ADA.
 6           24.       As a direct, foreseeable, and legal result of the Defendant’s disability
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     discrimination, including failing to accommodate Plaintiff's disability and ultimately terminating
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     Plaintiff because of his disability, Skinner has suffered, overall economic losses in earnings,
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     bonuses, job benefits and expenses, in an amount to be proven at trial which exceeds the minimum
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     jurisdictional limits of this Court.
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             25.       As a further direct, foreseeable, and legal result of the Defendant’s disability
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     discrimination, including failing to accommodate Plaintiff's disability and ultimately terminating
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     Plaintiff because of his disability, Skinner has suffered indignity, mental anguish, humiliation,
14
     emotional distress, nervousness, tension, anxiety, change in sleep patterns, depression,
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     inconvenience and loss of enjoyment of life and other pecuniary losses, the extent of which is not
16
17   fully known at this time, for which Plaintiff seeks damages in an amount in excess of the

18   minimum jurisdictional limits of the Court, also to be proven at the time of trial.

19           26.       In acting as they did, Defendant knowingly, willfully, and intentionally acted in

20   conscious disregard of Plaintiff's rights. Their conduct was despicable, has subjected Plaintiff to
21   oppression, and it warrants an award of punitive and exemplary damages in favor of Plaintiff, in a
22   sum according to proof at trial.
23           27.       Plaintiff claims the damages alleged herein, together with prejudgment interest as
24   provided by law, in a sum according to proof at trial.
25           28.       Plaintiff has incurred, and continues to incur, attorney's fees in the prosecution of
26   her claims. Plaintiff therefore seeks an award of reasonable attorney's fees, in a sum according to
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     proof at trial.
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 1                                      SECOND CAUSE OF ACTION
 2                                   (Retaliation in Violation of the ADA)
 3           29.     Plaintiff Skinner incorporates the allegations set forth in paragraphs 1 through 28,
 4   inclusive, as if fully set forth herein.
 5           30.     This cause of action is brought pursuant to the ADA as it involves a claim by
 6   Plaintiff for retaliation which is governed by the ADA.
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             31.     As set forth herein above, Skinner filed a Charge of Discrimination with NERC on
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     January 11, 2017 because of Newmont’s continued refusal to accommodate Plaintiff’s disability.
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             32.     It is believed and alleged that Defendant retaliated against Plaintiff, by among other
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     things, terminating his employment on or about October 31, 2017 for continuing to ask for
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     accommodations for his disabilities and for filing a Charge of Discrimination with NERC on
12
     January 11, 2017.
13
             33.     As a direct, foreseeable, and legal result of this retaliation by Defendant, Plaintiff
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     has suffered overall economic losses in earnings, bonuses, job benefits and expenses, in an amount
15
     to be proven at trial which exceeds the minimum jurisdictional limits of this Court.
16
17           34.     As a further direct, foreseeable, and legal result of Defendant's retaliation, Plaintiff

18   has suffered crying attacks, embarrassment, being unable to sleep, indignity, mental anguish,

19   humiliation, emotional distress, nervousness, tension, anxiety, recurring nightmares, depression,

20   inconvenience and loss of enjoyment of life and other pecuniary losses, the extent of which is not
21   fully known at this time, for which he seeks damages in an amount in excess of the minimum
22   jurisdictional limits of the court, to be proven at the time of trial.
23           35.     In acting as they did, Defendant knowingly, willfully, and intentionally acted in
24   conscious disregard of Plaintiff's rights. Their conduct was despicable, has subjected Plaintiff to
25   oppression, and it warrants an award of punitive and exemplary damages in favor of Plaintiff, in a
26   sum according to proof at trial.
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             36.     Plaintiff claims the damages alleged herein, together with prejudgment interest as
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 1   provided by law, in a sum according to proof at trial.
 2           37.       Plaintiff has incurred, and continues to incur, attorney's fees in the prosecution of
 3   her claims. Plaintiff therefore seeks an award of reasonable attorney's fees, in a sum according to
 4   proof at trial.
 5                                           PRAYER FOR RELIEF
 6           WHEREFORE, Plaintiff Skinner demands judgment against Defendant as follows:
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             1.        Declaring that the acts and practices complained of herein are a violation of
 8
     the ADA;
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             2.        Enjoining and permanently restraining the violations by Defendant of the ADA;
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             3.        For back pay and front pay for overall economic losses in earnings, bonuses, job
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     benefits and expenses, according to proof at time of trial;
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             4.        For compensatory damages for mental and emotional distress, worry, indignity,
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     mental anxiety, mortification, depression, shame, grief, inconvenience and loss of enjoyment of life
14
     and other pecuniary losses, all to Plaintiff's damage in a sum to be shown at the time of trial;
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             5.        For punitive damages;
16
17           6.        For attorney's fees and costs in an amount determined by the court to be reasonable;

18           7.        For pre-judgment interest on all damages; and

19           8.        For any other and further relief that the Court considers proper.

20                                        DEMAND FOR JURY TRIAL
21           Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff demands a trial by
22   jury in this action.
23           DATED: 09/14/2018                         LAW OFFICES OF MICHAEL P. BALABAN
24
25                                                BY: /s/ Michael P. Balaban
26                                                   Michael P. Balaban
                                                      LAW OFFICES OF MICHAEL P. BALABAN
27                                                    10726 Del Rudini Street
                                                      Las Vegas, NV 89141
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